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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                          MDL No. 3076
                                     CASE NO. 1:23-md-03076-KMM
    IN RE:

    FTX Cryptocurrency Exchange Collapse Litigation
    ________________________________________________

    THIS DOCUMENT RELATES TO ALL CASES.
                                                                 /




                                                 ORDER

            THIS CAUSE came before the Court upon the Motion to Withdraw of Stuart Z. Grossman,

    Esq., and Manuel A. “Alex” Arteaga-Gomez, Esq., who appeared as co-counsel for Plaintiffs in

    the matter of: Edwin Garrison, et al. on behalf of themselves and all others similarly situated v.

    Sam Bankman-Fried, et al., USDC Case No.: 1:22-cv-23753-KMM [ECF No. 125]. Being fully

    advised, it is

            ORDERED AND ADJUDGED that the Motion is GRANTED. Stuart Z. Grossman, Esq.,

    Manuel A. “Alex” Arteaga-Gomez, Esq., and Grossman Roth Yaffa Cohen, P.A. are permitted to

    withdraw as co-counsel for the Plaintiffs and shall have no further obligation in this matter.

            DONE AND ORDERED in Miami, Florida, this _______ day of July, 2023.




                                                  K. MICHAEL MOORE
                                                  UNITED STATES DISTRICT JUDGE
    cc: counsel of record
